Case 1:15-cv-00156-RP Document 22 Filed 05/06/15 Page 1of5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

 

 

A PTY Ltd.,

Plaintiff,
-VSs- Case No..  1:15-ev-156
FACEBOOK, INC.,

Defendant.

 

MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Michael G. Rhodes , applicant herein, and

 

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Facebook, Inc. in this case, and would

 

respectfully show the Court as follows:

1. Applicant is an attorney and a member of the law firm (or practices under the name of)

Cooley LLP

 

with offices at

 

 

Mailing address: 101 California Street, 5th Floor
City, State, Zip Code: San Francisco, CA 94111
Telephone: (415) 693-2000

 

Facsimile: (415) 693-2222

 
Case 1:15-cv-00156-RP Document 22 Filed 05/06/15 Page 2 of 5

 

 

Since 12/3/1984 , Applicant has been and presently is a member of and in
good standing with the Bar of the State of California .
116127

Applicant’s bar license number is

 

Applicant has been admitted to practice before the following courts:
Court: Admission date:

see attached

 

 

 

 

 

 

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which
Applicant is no longer admitted to practice):

n/a

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided
below:

n/a

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,
except as provided below (omit minor traffic offenses):

n/a
7.

10.

Case 1:15-cv-00156-RP Document 22 Filed 05/06/15 Page 3 of 5

Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

CJ

Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.
Applicant has co-counsel. in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

 

 

 

Co-counsel: Alan D. Albright, Sutherland Asbill & Brennan, LLP
Mailing address: 600 Congress Ave, Suite 2000

City, State, Zip Code: Austin, Texas 78701-3232

Telephone: (312) 721-2710

 

Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

pro hac vice fee in compliance with Local Court Rule AT-1(f)(1) [checks made payable

to: Clerk, U.S. District Court].

Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Western District of Texas.
Case 1:15-cv-00156-RP Document 22 Filed 05/06/15 Page 4of5

Wherefore, Applicant prays that this Court enter an order permitting the admission of
Michael G. Rhodes to the Western District of Texas pro hac vice

for this case only.

~

Respectfully submitted,

Michael G. Rhodes
[printed name of Applicant]

[signature of Apflicant]

CERTIFICATE OF SERVICE
I hereby certify that I have served a true and correct copy of this motion upon each

attorney of record and the original upon the Clerk of Court on this the 4th day of
May , 2015

Michael G. Rhodes
[printed name of Applicant]

Piictay (le _

[signature of Aplicant |
Case 1:15-cv-00156-RP Document 22 Filed 05/06/15 Page5of5

United States District Court
For the Western District of Texas
Austin Division

Application for Admission Pro Hac Vice
of
Michael G. Rhodes

 

 

 

 

 

 

 

 

 

 

 

3. Applicant has also been admitted to practice before the following courts:
Court: Admission Date:
Supreme Court of California (All California State 12/3/1984
Courts)

U.S. Court of Appeals for the Ninth Circuit 2/13/1986
U.S. Court of Appeals for the Tenth Circuit 11/15/2006
U.S. District Court for the Northern District of 1/5/1987
California

U.S. District Court for the Central District of California 4/1985
U.S. District Court for the Southern District of 2/18/1986
California

U.S. District Court for the Eastern District of California 12/24/1986
U.S. District Court, District of Colorado 9/15/2003
U.S. District Court, Western District of Wisconsin 2/9/2004

 

 

 
